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                       IN THE UNITED STATES DISTRICT COURT
                               DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

               v.
                                                              Case No. 21-CR-117 (RCL)
RYAN TAYLOR NICHOLS

                       Defendant.

                        SUPPLEMENT TO MOTION TO CONTINUE

       Mr. Nichols was happy, healthy, fit, strong, and handsome before the Government took

him away on January 18, 2021.         He was noticeably different when his wife, mother, and

undersigned counsel picked him up from jail on November 22, 2022. Now, months after his

November release, he is a shell of his former self. Mr. Nichols’ physical and mental health steadily

declined during the twenty-two months he was incarcerated in highly unsanitary conditions with

limited access to sunlight, ventilation, personal hygiene supplies, adequate nutrition, and quality

medical care. Consequently, Mr. Nichols now suffers from multiple psychological and

physiological illnesses. Mr. Nichols was denied reasonable access to medical care during the

pendency of his pretrial detention, during which multiple requests for treatment related to PTSD,

ear infections, and many other medical issues either went unanswered or were met with indifferent

“medical treatment” that grossly deviated from any reasonable standard of medical care. As a

result, Mr. Nichols’s PTSD is unmanaged. He has serious paranoia, severe hair loss, depression,

nightmares, and other medical issues— including what appears to be active liver disease. Mr.

Nichols’ psychiatric issues are complex and exasperating. Like Senator John Fetterman, who needs

rest, compassion, and treatment. So too does Ryan Nichols. Because of these reasons, undersigned

counsel respectfully submits that it is unconscionable for Mr. Nichols to stand trial at this time.



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Dated: New York, NY
March 9, 2022
                                        Respectfully submitted,

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